Case 2:04-cv-02890-SHI\/|-dkv Document 10 Filed 08/26/05 Page 1 of 3 Page|D 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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WOF U..S D‘STPJCTCUBT

 

UNITED STATES OF AMERICA,
Plaintiff,

Cv. No. 04-2890»Ma/V
Cr. No. 02-20146-Ma

VS.
EULIBES L. CRUZ,

Defendant.

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ORDER GRANTING MOTION TO DISMISS WITHOUT PREJUDICE

 

Defendant Eulibes L. Cruz, Bureau of Prisons inmate
registration number 18356-076, an inmate at the Federal Correctional
Institution in Forrest City, Arkansas, filed a pro §§ motion pursuant
to 28 U.S.C. § 2255 on November 3, 2004, accompanied by a legal
memorandum. On December 20, 2004, Cruz filed a motion seeking leave
to proceed in _fg;m§; pauperis. On. March 29, 2005, Cruz filed a
supplement to his motion. Cruz submitted a second supplemental motion,
which he characterizes as an attachment to his previous supplement,
on April 15, 2005. On May 12, 2005, May 24, 2005, and June 16, 2005,
Cruz filed a inquiries concerning the status of the case. On July 15,
2005, Cruz filed a motion seeking to voluntarily dismiss this action
without prejudice in light of the fact that the Sixth Circuit had
remanded the case back to this Court for resentencing in light of

United States v. Booker, 125 S. Ct. 758 (2005).

Thie don ment entered on the docket sheet in c mp|iance
with Rlaf e 55 andrch 32fb) FHCrP on o

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For good cause shown, the motion to dismiss without

prejudice is GRANTED.

I'I' IS SO ORDERED this ask day Of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STA'I'ES DISTRIC'I` JU`DGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02890 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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18356-076

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Tracy Lynn Berry

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Honorable Samuel Mays
US DISTRICT COURT

